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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

   AMANDEEP GYANI, ABBY UTAL, HECTOR
   ACOSTA, JULEZ BLAKE, DEBORAH TOMAZ,        Case No. 1:24-cv-22651-BB
   ROYA SAYIED, PAULA MARTINEZ, and
   ALEXANDRIA REESE, individually and on      CLASS ACTION
   behalf of all others similarly situated,
                                              JURY TRIAL DEMANDED
                 Plaintiffs,

          v.

    LULULEMON ATHLETICA INC. and
    LULULEMON USA INC.,

                Defendants.

   DEFENDANTS’ MOTION TO DISMISS THE FIRST AMENDED COMPLAINT AND
       INCORPORATED MEMORANDUM OF LAW IN SUPPORT THEREOF
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         Defendants lululemon athletica inc. (“lululemon athletica”) and lululemon usa inc.
  (“lululemon usa”) (collectively, “lululemon” or the “Company”), respectfully submit this
  Memorandum of Law in Support of their Motion to Dismiss the First Amended Complaint (the
  “Amended Complaint” or “AC”) pursuant to Rules 8, 9(b), 12(b)(1), 12(b)(2), and 12(b)(6) of the
  Federal Rules of Civil Procedure.
                                   PRELIMINARY STATEMENT
         lululemon is a global athletic apparel company that is deeply committed to responsibly
  addressing its environmental impact. In 2020, lululemon issued an Impact Agenda setting out its
  environmental goals, which it clearly and repeatedly described as “forward-looking” targets that
  spanned the course of the next decade. Each year since, lululemon has released an annual Impact
  Report transparently discussing the work undertaken towards those goals and the level of progress
  achieved in a given year. In this lawsuit, Plaintiffs blatantly mischaracterize lululemon’s targets as
  “promises” and misconstrue statements divorced from their context in order to spin a baseless
  greenwashing claim. Plaintiffs’ narrative is unsupported by a single well-pleaded factual allegation
  demonstrating that any of lululemon’s statements concerning its environmental goals or progress
  were false or deceptive. The Amended Complaint should be dismissed on any one of the following
  independent grounds.
         First, Plaintiffs fail to allege facts satisfying either the injury-in-fact or causal connection
  elements of Article III standing. Not one of the Plaintiffs pleads: which of lululemon’s statements,
  if any, they saw; when they purportedly saw the statements; when they purportedly purchased
  lululemon products as a result of the statements; or which lululemon products they purportedly
  purchased. Second, the Court lacks personal jurisdiction over the nonresident New York and
  California Plaintiffs (Alexandria Reese and Roya Sayied, respectively) because these plaintiffs do
  not and cannot allege any connection between their claims and Florida. Third, Plaintiffs fail to
  plead any actionable deception. Plaintiffs’ claims are grounded in fraud, but their allegations lack
  the particularity required by Rule 9(b). Indeed, Plaintiffs’ claims fail to meet Rule 8’s plausibility
  standard, including because they have not pled facts making it plausible that they suffered any
  injury as a result of lululemon’s statements, nor that a reasonable consumer would have been
  deceived. In reality, as is clear on the face of the disclosures upon which Plaintiffs rely, lululemon’s
  statements are accurate, contextualized, forward-looking, approved by a neutral third-party, and/or
  too subjective to be actionable. Fourth, each of Plaintiffs’ claims suffer from a myriad of
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  additional pleading deficiencies. For example, the sole New York Plaintiff only alleges that she
  purchased products in New Jersey, and thus cannot assert a claim under New York’s General
  Business Law. Further, while the sole California Plaintiff purports to bring claims under each
  prong of California’s Unfair Competition Law, she fails to allege facts establishing the elements
  of any of these prongs. The California Plaintiff also cannot seek equitable relief because she has
  not and cannot allege that she lacks an adequate remedy at law. Additionally, Plaintiffs’ attempt
  to assert Florida claims on behalf of a putative nationwide class fails as a matter of law because
  lululemon is not a Florida company and they allege no basis to apply Florida’s laws
  extraterritorially. Further, the NYGBL and CLRA claims of certain named plaintiffs and putative
  class members are time barred. Fifth, Plaintiffs’ unjust enrichment claims fail for the same reasons
  as their deficient consumer protection claims. The unjust enrichment claims also rely on the same
  factual predicates as the consumer protection claims and are thus not a true alternative theory of
  relief. Further, Plaintiffs cannot bring an unjust enrichment claim on behalf of a putative
  nationwide class given the substantial variations in state laws. Sixth, Plaintiffs lack standing to
  seek prospective injunctive relief, as they are now aware of the supposed risk of “deception” and
  have not plausibly alleged they are at imminent risk of suffering a similar harm again in the future.
         For these reasons, the Court should dismiss the Amended Complaint in its entirety.1
                                     STATEMENT OF FACTS2
         In its 2020 Impact Agenda, lululemon outlined its “long-term strategy to become a more
  sustainable and equitable business,” identifying “12 goals to drive progress” over the next decade.
  Ex. A at 1; see generally Ex. B. As part of this Agenda, lululemon set climate targets for
  greenhouse gas emissions that were externally validated by the Science Based Targets initiative
  (“SBTi”), an organization that develops standards and guidance allowing companies to set
  environmental targets consistent with the Paris Climate Agreement. Ex. B at 33. From the outset,


  1
   Plaintiffs intend to file a motion voluntarily staying the claims of Plaintiffs Gyani and any other
  named plaintiff or putative class member that is subject to an arbitration provision. See Dkt. No.
  21. Defendants reserve the right to move to compel arbitration of all such claims.
  2
    “Ex. __” refers to exhibits attached to the accompanying Declaration of Pravin R. Patel. On this
  motion, the Court may consider facts from the Amended Complaint, documents incorporated
  therein, and documents relied on by Plaintiffs in bringing suit. See United States ex rel. Osheroff
  v. Humana Inc., 776 F.3d 805, 811-12 (11th Cir. 2015).



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  lululemon was clear that “[w]e have a long way to go to meet our goals. We’ll scale our successes,
  learn from our setbacks, and will report on our environmental, social, and governance progress at
  least annually.” Id. at 4.3 Each year since, lululemon has provided detailed updates on the status of
  progress achieved in its annual Impact Report—frequently exceeding or meeting goals, and
  sometimes progressing more slowly than targeted, but always communicating exactly where the
  Company stood. Exs. C-E.
         In the Amended Complaint, Plaintiffs challenge two categories of statements from the
  Impact Reports, Agenda, and Summary, among other disclosures: (1) statements about forward-
  looking environmental targets and progress towards those targets, see AC ¶¶ 5, 58, 67, 87-88, 92,
  94, 97-99, 101, 106, 111; and (2) statements that lululemon is committed to contributing towards
  a healthier planet as reflected in its targets, see id. ¶¶ 2, 5-6, 56-60, 71, 76-81, 87-93, 100, 107-09.
  To be clear, Plaintiffs do not allege that any of lululemon’s targets were not (and are not) genuinely
  held. Nor do Plaintiffs allege that lululemon’s progress towards those targets was anything other
  than what it disclosed each year. Instead, Plaintiffs contend that lululemon’s statements of
  genuinely held targets and accurate progress updates were nonetheless deceptive because,
  according to Plaintiffs, lululemon disclosed a “100% increase in climate pollution” in its 2022
  Impact Report. Id. ¶ 64. That statistic does not appear in the Impact Report that Plaintiff cites, nor
  in any other disclosure identified by Plaintiffs. See Ex. B at 33, 41; Ex. C at 12, 43, 44; Ex. D at
  18, 47. There is no such metric.
         To the extent Plaintiffs rely upon lululemon’s accurate progress updates concerning
  greenhouse gas emissions reduction targets, AC ¶¶ 11, 61, 66, 68, 84, 92, 106, the Amended
  Complaint is similarly devoid of facts demonstrating that any disclosure was deceptive. In its 2020
  Impact Agenda, lululemon set forth goals for reducing its Scope 1, 2, and 3 emissions by
  2030. See Ex. B at 33.4, 5 lululemon has similarly made clear that, as a “high-growth company,” its
  Scope 3 target was one of intensity reduction, not absolute reduction. See, e.g., id. at 33, 41; Ex. C

  3
    See, e.g., Ex. D at 15 (“We recognize that progress is rarely linear, and that we face significant
  industry-wide challenges that require us to partner and collaborate.”); see also id. at 4, 47, 49.
  4
   Scope 1 and 2 emissions are generated by lululemon’s “[o]wned and operated” facilities, and
  Scope 3 emissions are generated across its global supply chain. Ex. C at 43.
  5
    Contrary to Plaintiffs’ assertions, see, e.g., AC ¶ 103, lululemon has consistently disclosed that
  its Scope 1 and 2 emissions comprise a small percentage of its overall emissions in the very
  disclosures upon which Plaintiffs rely. See, e.g., Ex. C at 44; Ex. D at 50.


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  at 12, 43, 44; Ex. D at 18, 47; Ex. F.
         Plaintiffs do not dispute that lululemon met and exceeded its Scope 1 and 2 emissions
  reductions goals in 2021, nine years ahead of its 2030 target. See Ex. D at 53. Nor do Plaintiffs
  dispute the accuracy of lululemon’s disclosures about the status of progress undertaken towards
  its Scope 3 emissions targets each year and Plaintiffs acknowledge, as they must, that lululemon
  has many years ahead to achieve its 2030 intensity reduction goal. See AC ¶¶ 5, 97; Ex. D at 18.
                                           LEGAL STANDARD
         Plaintiffs bear the burden of demonstrating that they have Article III standing. TransUnion
  LLC v. Ramirez, 594 U.S. 413, 430-31 (2021). To do so, a plaintiff must “demonstrate a concrete
  and particularized injury caused by the defendant.” Id. at 423. Standing is required “for each claim
  [a plaintiff] seeks to press and for each form of relief that is sought.” Davis v. Fed. Election
  Comm’n, 554 U.S. 724, 734 (2008). Under Rule 12(b)(2), “to withstand a motion to dismiss, a
  plaintiff must plead sufficient facts to establish a prima facie case of jurisdiction over the non-
  resident defendant.” Peruyero v. Airbus, S.A.S., 83 F. Supp. 3d 1283, 1286 (S.D. Fla. 2014). In
  ascertaining whether personal jurisdiction exists, courts must determine whether the applicable
  state long-arm statute is satisfied. Id. Florida’s long-arm statute only hales a defendant into Florida
  court when the “cause of action . . . [arises] out of [defendant’s] alleged contacts with the forum.”
  Bain v. Jockey Club Tech. Servs., Inc., 2007 WL 9706994, at *3 (S.D. Fla. Oct. 2, 2007).
         Because Plaintiffs’ claims sound in fraud, they must satisfy Rule 9(b)’s heightened
  pleading standard. See also Jackson v. Anheuser-Busch InBev SA/NV, 2021 WL 3666312, at *4
  (S.D. Fla. Aug. 18, 2021) (Bloom, J.). To satisfy Rule 9(b), the complaint must identify the “who,
  what, when, where, and how” of the alleged misconduct, as well as what is false or misleading
  about the challenged statements, and why it is false. Id. To avoid dismissal under Rule 12(b)(6),
  Plaintiffs must “state a claim to relief that is plausible on its face.” Bell Atl. Corp v. Twombly, 550
  U.S. 544, 570 (2007). Plausibility requires “more than a sheer possibility that a defendant has acted
  unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Threadbare recitals of the elements of
  a cause of action, supported by mere conclusory statements, do not suffice.” Id. at 678.
                                             ARGUMENT
  I.     PLAINTIFFS LACK ARTICLE III STANDING (COUNTS I-V)
         To satisfy Article III standing, Plaintiffs must demonstrate: “(1) an injury in fact; (2) a
  causal connection between the injury and the alleged misconduct; and (3) a likelihood that the



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  injury will be redressed by a favorable decision.” L.M.P. ex rel. E.P. v. Sch. Bd. of Broward Cnty.,
  Fla., 879 F.3d 1274, 1281 (11th Cir. 2018). An injury-in-fact must be both particularized and
  concrete. See MSPA Claims 1 v. Tenet Fla., 918 F.3d 1312, 1318 (11th Cir. 2019). At the pleading
  stage, “a plaintiff must set forth general factual allegations that ‘plausibly and clearly allege a
  concrete injury,’ . . . and that injury must be ‘actual or imminent, not conjectural or hypothetical.’
  . . . ‘[M]ere conclusory statements[] do not suffice.’” Tsao v. Captiva MVP Rest. Partners, LLC,
  986 F.3d 1332, 1337-38 (11th Cir. 2021). The Amended Complaint fails to adequately plead both
  an injury-in-fact and a causal connection.
         Regarding the injury-in-fact requirement, Plaintiffs do not allege that they did not receive
  the goods they purchased from lululemon, or that those goods were defective. Instead, Plaintiffs
  contend that if they had known the proverbial “truth” about lululemon’s environmental efforts,
  they would not have purchased those products at such a premium. AC ¶¶ 139, 184. Damages
  theories predicated on “a price premium due to . . . purported [misrepresentations]” do not satisfy
  the injury-in-fact requirement where the “complaint is devoid of any factual support for the idea
  that [a product is], in fact, worth less than the stated price[.]” Valiente v. Publix Super Mkts., 2023
  WL 3620538, at *3 (S.D. Fla. May 24, 2023); Naimi v. Starbucks, 798 F. App’x 67, 70 (9th Cir.
  2019) (“bare recitation of the word ‘premium’ does not adequately allege a cognizable injury”);
  Krakauer v. Recreational Equip., 2024 WL 1494489, at *7 (W.D. Wash. Mar. 29, 2024) (“bald
  assertion that [plaintiff] would have paid less or not purchased the [product]” is “fatal”). That is
  precisely the case here. Plaintiffs allege no facts to support a plausible inference that they paid a
  premium for any of lululemon’s products. Plaintiffs do not allege what goods they purchased, how
  much they paid for those goods, how much they would have paid for those goods absent the alleged
  misrepresentations, or whether and where they could have bought those goods elsewhere. Nor do
  Plaintiffs allege that the prices of lululemon’s products increased after the alleged
  misrepresentations were made, let alone that any such increase was the result of the alleged
  misrepresentations and not the many other reasons that product prices increase over time. This is
  fatal to their price premium theory. Plaintiffs’ boilerplate allegations of a price premium are thus
  insufficient. See, e.g., Broodie v. Target, 2024 WL 3341342, at *2-3 (M.D. Fla. June 6, 2024)
  (allegation that plaintiff “paid more for the Product and would not have paid as much if [she]
  knew” the alleged misrepresentation was false “do[es] not establish standing”); Ramirez v. Kraft
  Heinz Foods Co., 684 F. Supp. 3d 1253, 1259-60 (S.D. Fla. 2023) (Bloom, J.) (plaintiff lacks



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  standing to assert FDUTPA and tag-along claims when the complaint “contains no factual
  allegations of the price she might have paid” absent the alleged deception).
         Regarding the causal connection requirement, Plaintiffs fail to allege facts demonstrating
  a connection between any of lululemon’s statements and any of Plaintiffs’ purported injuries, let
  alone for all of Plaintiffs’ claims, as is required. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332,
  352 (2006) (standing must be demonstrated “for each claim [a plaintiff] seeks to press”); Lujan v.
  Defs. of Wildlife, 504 U.S. 555, 560 (1992) (plaintiff must allege for every claim “a causal
  connection between the injury and the conduct complained of”). While Plaintiffs challenge certain
  of lululemon’s statements, they do not allege when lululemon made each statement, which
  statement each Plaintiff saw or when, or when each Plaintiff purchased each product at issue. It is
  axiomatic that if a Plaintiff did not see a statement before purchasing a product, that statement
  could not have caused the purchase or any injury. Indeed, on the face of the Amended Complaint,
  it is impossible to know whether any Plaintiff had even seen a single alleged misrepresentation at
  the time of any purchase. Plaintiffs thus cannot trace their alleged injuries to lululemon’s
  statements. See infra Section III.A; Valiente, 2023 WL 3620538, at *3. For these reasons, Plaintiffs
  do not adequately allege any injury or causation sufficient to give them Article III standing.
  II.    THE COURT LACKS PERSONAL JURISDICTION OVER THE NONRESIDENT
         PLAINTIFFS’ STATE-LAW CLAIMS (COUNTS II-IV)
         To adequately plead that jurisdiction is proper in this forum for their NYGBL, CLRA, and
  UCL claims, the nonresident Plaintiffs Reese and Sayied must demonstrate either general or
  specific jurisdiction. Bristol-Myers Squibb Co. v. Super. Ct. of Cal., S.F. Cnty., 582 U.S. 255, 262
  (2017). General jurisdiction is unavailable here, as the Supreme Court mandates that all-purpose
  jurisdiction is typically available only where the defendant is incorporated or maintains its
  principal place of business. Daimler AG v. Bauman, 571 U.S. 117, 137 (2014). Plaintiffs concede:
  (1) lululemon athletica is incorporated in Delaware and has a principal place of business in
  Vancouver, British Columbia, AC ¶ 28; and (2) lululemon usa is incorporated in Nevada and also
  has a principal place of business in Vancouver. Id. ¶ 29.
         Specific jurisdiction is likewise unavailable to nonresident Plaintiffs Reese and Sayied.
  “When a suit is brought as a purported class action, personal jurisdiction over each defendant is
  assessed with respect to the named plaintiffs’ causes of action.” Lewis v. Mercedes-Benz USA, 530
  F. Supp. 3d 1183, 1226 (S.D. Fla. 2021). “In other words, in a class action, personal jurisdiction
  is based on a defendant’s contacts with the forum state and actions giving rise to the named


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  plaintiffs’ causes of action.” Id. Florida’s long-arm statute only hales a defendant into Florida court
  when the “cause of action . . . [arises] out of [defendant’s] alleged contacts with the forum.” Bain,
  2007 WL 9706994, at *3. Here, Plaintiffs Reese and Sayied allege no connection with Florida.
  Indeed, they are residents of New York and California, respectively, they purchased their
  lululemon products outside of Florida, and did not suffer any injury in Florida. AC ¶¶ 26-27. Thus,
  “Florida’s long-arm statute simply does not apply to them.” Lewis, 530 F. Supp. 3d at 1226
  (dismissing NY and CA plaintiffs because plaintiffs had no alleged connection with Florida); Bain,
  2007 WL 9706994, at *3; cf. Patt v. Volkswagen Grp. of Am., Inc., 688 F. Supp. 3d 1186, 1190-
  91 (S.D. Fla. 2023) (Bloom, J.) (“Although Plaintiff’s harm may have arisen from Defendant’s
  activity outside of Florida that was similar to Defendant’s activity in Florida, that is not enough.”).
  Because it cannot exercise personal jurisdiction over Plaintiffs Reese and Sayied, the Court should
  dismiss the NYGBL, CLRA, and UCL claims.
  III.    PLAINTIFFS FAIL TO STATE ANY CONSUMER PROTECTION CLAIM
          (COUNTS I-IV)
          The Amended Complaint asserts four separate claims under state consumer protection
  statutes: FDUTPA; NYGBL; CLRA; and UCL (collectively, the “Consumer Protection Claims”).
  Each Consumer Protection Claim requires that Plaintiffs plead: (1) a deceptive business practice;
  (2) causation; and (3) damages.6 Plaintiffs must also demonstrate that a “reasonable consumer” is
  likely to be misled by the statement. Piescik v. CVS Pharm., Inc., 576 F. Supp. 3d 1125, 1132-34
  (S.D. Fla. 2021).7 As set forth below, Plaintiffs have failed to plead facts sufficient to state any of
  the Consumer Protection Claims. As such, Counts I-IV must be dismissed.
          A.      Plaintiffs Have Not Adequately Pled Facts in Support of Any of Their Claims
                  Under Either Rule 9(b) or Rule 8(a) (Counts I-V)
          All of Plaintiffs’ claims sound in fraud and are thus subject to Rule 9(b). Jackson, 2021

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    Baptist Hosp., Inc. v. Baker, 84 So. 3d 1200, 1204 (Fla. Dist. Ct. App. 2012) (“[T]o assert a claim
  for damages under FDUTPA, the plaintiff must establish ‘(1) a deceptive act or unfair practice,;
  (2)    causation;      and     (3)     actual     damages.’”);       Dwyer       v.    Allbirds,      Inc.,
  598 F. Supp. 3d 137, 148 (S.D.N.Y. 2022) (To state GBL § 349 claim, “Plaintiff must show ‘first,
  that the challenged act or practice was consumer-oriented; second, that it was misleading in a
  material way; and third, that the plaintiff suffered injury as a result of the deceptive act.’”); Reitman
  v. Champion Petfoods USA, Inc., 2019 WL 7169792, at *7 (C.D. Cal. Oct. 30, 2019) (same).
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   McGinity v. Procter & Gamble Co., 69 F.4th 1093, 1097 (9th Cir. 2023); Twohig v. Shop-Rite
  Supermarkets, Inc., 519 F. Supp. 3d 154, 160-161 (S.D.N.Y. Feb. 11, 2021).



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  WL 3666312, at *12 (Bloom, J.) (“[B]ecause Plaintiffs’ FDUTPA claim sounds in fraud, the Rule
  9(b) heightened pleading requirements apply.”); State Farm Mut. Auto. Ins. Co. v. Performance
  Orthopaedics & Neurosurgery, 278 F. Supp. 3d 1307, 1327 (S.D. Fla. 2017) (“Where a claim is
  grounded in fraud, the complaint must also comply with the heightened pleading requirements of
  Federal Rule of Civil Procedure 9(b).”). Here, the crux of Plaintiffs’ claims is that lululemon
  “knowingly and intentionally misrepresent[ed] and conceal[ed] and/or fail[ed] to disclose material
  facts regarding the sustainability and environmental impact of [its] actions and products.” AC ¶¶
  131, 148, 161, 173 (emphasis added); see also id. ¶¶ 134, 151, 165, 176.8
         The Amended Complaint falls far short of the pleading the “who, what, when, where, and
  how” of the alleged misconduct, as required by Rule 9(b). Garfield v. NDC Health Corp., 466 F.3d
  1255, 1262 (11th Cir. 2006). For each Plaintiff, the Amended Complaint only states in a boilerplate
  fashion that he or she “relied on [l]ululemon’s deceptive and misleading marketing messages in
  deciding to purchase its products.” AC ¶ 20; see also id. ¶¶ 21-27. Not one of the Plaintiffs ever
  pleads: which of the alleged misrepresentations they saw; when they allegedly saw the alleged
  misrepresentations; when they purchased or paid more for lululemon products as a result of the
  alleged misrepresentations; which lululemon products they allegedly purchased; or how much they
  purportedly paid or overpaid for these products. Further, Plaintiffs do not allege when or where
  many of the alleged misrepresentations were even made. See, e.g., id. ¶¶ 77, 88-89, 97-99, 109.
  The failure to plead these fundamental factual allegations is fatal. PB Prop. Mgmt. v. Goodman
  Mfg. Co., 2013 WL 12172912, at *7 (M.D. Fla. Aug. 28, 2013) (dismissing FDUTPA claim where
  no allegations of when Plaintiff “viewed the alleged misrepresentations on [] website”).
         Plaintiffs’ allegations also fail to satisfy Rule 8’s plausibility standard. Rule 8(a) demands
  “more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678.
  Plaintiffs must allege “sufficient factual matter, accepted as true, to state a claim to relief that is
  plausible on its face.” Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1292 (11th Cir. 2010).
  Plaintiffs’ theory is facially implausible. To sidestep the binding arbitration provision in
  lululemon’s Terms of Use, Plaintiffs have limited their claims to purchases at brick-and-mortar
  lululemon stores, AC ¶¶ 20-27, but the challenged statements are online. Id. ¶¶ 55-111. Moreover,


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   A FDUTPA claim is “clearly based on fraud” when a defendant is alleged to “purposefully and
  systematically [make] affirmative misrepresentations and [] omissions of material information.”
  Perret, 846 F. Supp. 2d at 1333.


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  all but one of the statements, id. ¶ 109 n.115, are on lululemon’s corporate website
  (corporate.lululemon.com) and not the shop.lululemon.com website where consumers can
  purchase products. Plaintiffs do not allege any facts explaining how seven named plaintiffs who
  purchased products exclusively in-store reviewed and relied on exclusively online statements, and
  the assertion that seven separate in-store purchasers all relied on the same online statements
  primarily on the corporate website defies common sense. At bottom, the Amended Complaint boils
  down to “an unadorned, the-defendant-unlawfully-harmed-me accusation” that does not suffice to
  state a claim. Webb v. 1300 S. Miami Emp., LLC, 2022 WL 2528624, at *3 (S.D. Fla. July 7, 2022).
  On this ground alone, the Court should dismiss all of Plaintiffs’ claims.
         B.      Plaintiffs Fail to Adequately Allege Any Actionable Deception (Counts I-V)
         The Consumer Protection Claims are governed by the “reasonable consumer” test. Piescik,
  576 F. Supp. 3d at 1132-35. To state a claim based on an affirmative misrepresentation under each
  of the Consumer Protection Claims, Plaintiffs must plead “a representation, omission, or practice
  that is likely to mislead the consumer acting reasonably in the circumstances, to the consumer’s
  detriment.” Zlotnick v. Premier Sales Grp., 480 F.3d 1281, 1284 (11th Cir. 2007).9 Plaintiffs do
  not meet this burden. As explained above, the statements that Plaintiffs challenge fall into two
  categories: (1) statements about forward-looking environmental goals and progress towards those
  goals (“Category 1 Statements”), see AC ¶¶ 5, 58, 67, 87-88, 92, 94, 97-99, 101, 106, 111; and (2)
  statements that lululemon is committed and contributing to a healthier planet based on the work it
  is doing in furtherance of its goals (“Category 2 Statements”), see id. ¶¶ 2, 5-6, 56-60, 71, 76-81,
  87-93, 100, 107-09. As detailed below, the Consumer Protection Claims fail as a matter of law.
                 1. lululemon’s Statements are Inactionable Goals
         The Category 1 Statements are inactionable forward-looking statements. While Plaintiffs
  attempt to pass off its environmental targets as “promises” that are deceptive if not met, see, e.g.,
  AC ¶¶ 5, 8, 110, lululemon has been clear that they are goals. For example, Plaintiffs identify the
  following statements as false or misleading: that lululemon has “[a] . . . long-term strategy to
  become a more sustainable . . . business [and] minimize its environmental impact;” “100% of the
  Company’s products will include sustainable materials and end-of-use solutions by 2030;” and
  lululemon seeks to “reduce carbon emissions across its global supply chain by 60% per unit of

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   See also Angiano v. Anheuser-Busch InBev Worldwide, 532 F. Supp. 3d 911, 918-19 (C.D. Cal.
  2021); Stutman v. Chem. Bank, 95 N.Y.2d 24, 29 (2000).


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  value added . . . by 2030.” Id. ¶¶ 5 (quoting Ex. A), 58. But these statements are unmistakably
  targets—not promises. Indeed, the lululemon disclosures that Plaintiffs allegedly reviewed all
  repeatedly refer to these targets as “goals” and include variations of an explanation that “[t]he
  realization of [lululemon’s] goals, expectations, plans, and strategies, and the accuracy of [its]
  assumptions, are subject to a number of risks and uncertainties that could cause actual results to
  differ materially from those described[.]” Ex. C at 66. No reasonable consumer would confuse
  these targets for promises. Nivia v. Nationstar Mortg., 2014 WL 4146889, at *6 (S.D. Fla. Aug.
  21, 2014) (“Plaintiffs cannot claim, nor do they offer any facts, that a reasonable consumer in the
  same circumstances would have taken Defendant’s stated ‘goal’ as a guarantee.”).10 In any event,
  Plaintiffs do not allege that these goals are not, in fact, the goals that lululemon genuinely held at
  the time of the alleged misrepresentation.
         Nor do Plaintiffs’ allegations concerning lululemon’s accurate progress updates towards
  its goals establish deception. AC ¶¶ 105-06. The Amended Complaint does not contain a single
  allegation that lululemon failed to meet any of the goals identified. Nor does the Amended
  Complaint plead facts alleging that lululemon will be unable to do so in the future. Instead,
  Plaintiffs’ theory of deception is premised on lululemon’s accurate public disclosures reflecting
  its progress towards its Scope 1, 2, and 3 emissions targets. As an initial matter, even if lululemon’s
  updates showed that the targets will not be met (which they do not), that self-evidently says nothing
  about whether the targets were false when made; i.e., that lululemon set the targets knowing that
  they would not be met. Rodriguez v. JPay, Inc., 2019 WL 11624312, at *7 (S.D. Fla. Oct. 21,
  2019) (dismissing FDUTPA claim where plaintiff failed to allege an advertisement made a promise
  that defendant did not intend to keep). Further, as lululemon disclosed and Plaintiffs concede,
  lululemon met and exceeded its Scope 1 and 2 emissions targets early, which it always disclosed
  comprised a small percentage of its overall emissions. See Ex. C at 44. As to its Scope 3 emissions

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     Plaintiffs also challenge as deceptive lululemon’s statement that it is “on track to make 100% of
  [its] products with sustainable materials by 2030” because, according to Plaintiffs, lululemon does
  not disclose “the extent of ‘sustainable’ material that will be used in each product.” AC ¶¶ 88, 94.
  This statement, like other Category 1 Statements, concerns a goal discussed in lululemon’s Impact
  Reports. Plaintiffs do not identify whether they are quoting from the 2020, 2021, or 2022 Impact
  Report; regardless, their challenge to the statement fails. Directly contrary to Plaintiffs’ assertion,
  in connection with the specific statements concerning the 2030 sustainable (or preferred) materials
  goal that Plaintiffs challenge, lululemon plainly defines the percentages of sustainable materials in
  each product that count towards the goal. See Ex. C at 35; Ex. D at 55.



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  target, lululemon has consistently disclosed the progress it has made towards this goal and
  Plaintiffs do not dispute the accuracy of the metrics that lululemon reports. Further, lululemon
  continues to make significant progress. Most recently, lululemon disclosed a 31% reduction in its
  Scope 3 emissions, due in part to decreased production. Ex. E at 11, 13. These accurate progress
  updates do nothing to establish that lululemon’s targets were false when made or even that
  lululemon will be unable to meet any targets in the future. In any event, falling short of a goal does
  not plausibly deceive any consumer—that possibility is inherent in the very nature of a goal.
         Further, to the extent that Plaintiffs argue that lululemon’s Scope 1, 2, and 3 emissions
  targets are misleading given the “problems and controversial nature of ‘intensity-based’ emission
  reduction targets,” AC ¶ 104, their claims still fail as a matter of law. Allegations premised on
  Plaintiffs’ disagreements with standards or methodologies cannot form the basis for their claims.
  Lee v. Can. Goose, 2021 WL 2665955, at *6 (S.D.N.Y. June 29, 2021) (“The alleged inadequacy
  of the standards imposed is not enough to render the statements actionable.”); Dwyer, 598 F. Supp.
  3d at 151 (“There may well be room for improvement in the [carbon footprint calculator], but that
  does not suggest that reliance on the current standard is deceptive.”). That Plaintiffs believe
  lululemon “should use a different method” for measuring emissions “does not plausibly suggest
  that what [the Company] in fact says is materially misleading.” Dwyer, 598 F. Supp. 3d at 150.11
  And, as set forth above, in the disclosures that Plaintiffs rely upon, the Company has consistently
  made clear that its goal is a 60% intensity reduction by 2030.
         Lastly, merely because the apparel industry as a whole is purportedly harmful to the
  environment does not establish actionable deception by lululemon. Instead of alleging specific
  facts demonstrating wrongdoing by lululemon, the Amended Complaint devotes page after page
  to alleging the harm that the apparel industry does to the environment, only to then make the false
  equivalence that lululemon too must be harming the environment. AC ¶¶ 8, 31-41. Courts routinely
  reject such broad generalizations about entire industries. Podpeskar v. Dannon Co., 2017 WL
  6001845, at *4 (S.D.N.Y. Dec. 3, 2017); Dwyer, 598 F. Supp. 3d at 152 (“[A]llegations that the
  [wool] industry as a whole deceives consumers do not satisfy Plaintiff’s burden to allege that a

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    Plaintiffs also suggest that lululemon’s statement that it is “converting to recycled polyester and
  nylon in its products” is misleading because “experts do not consider these products to be a truly
  sustainable alternative[.]” AC ¶ 111 (quoting Ex. D at 55). Plaintiffs’ disagreement with the nature
  of lululemon’s environmental efforts does not render its accurate updates deceptive.



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  specific advertisement or statement by Defendant would mislead a reasonable consumer as to the
  Product.”).12 Plaintiffs’ other false equivalencies similarly fail. For example, Plaintiffs allege that
  merely because lululemon’s supply chain intersects with Southeast Asia, it must be harmful as
  Southeast Asia has large greenhouse emissions, and thus lululemon’s statements about its
  environmental goals and progress were misleading. AC ¶¶ 66, 83; Ex. G at 5. These unsupported
  and implausible allegations should also be disregarded.13
                  2. lululemon’s Statements Were Approved by a Neutral Third-Party
          Plaintiffs’ theory of deception for the Category 1 Statements also fails because lululemon’s
  emissions targets were developed and approved by a neutral third-party. Plaintiffs identify as false
  or misleading lululemon’s goal to “reduce carbon emissions across its global supply chain by 60%
  per unit of value added . . . by 2030.” AC ¶ 58 (quoting Ex. A at 3). However, Plaintiffs ignore
  that when it first announced its emissions targets, lululemon unambiguously explained that the
  targets were established and approved by the neutral Science Based Target initiative. See Ex. B at
  33. In fact, lululemon and the SBTi specifically developed these targets together in accordance
  with the Paris Climate Agreement. See id. Without allegations of wrongdoing by the SBTi—of
  which there are none—Plaintiffs cannot plausibly establish that lululemon’s approved targets and
  related statements were deceptive. Swartz v. Coca-Cola Co., 2023 WL 4828680, at *4 (N.D. Cal.
  July 27, 2023) (dismissing false-advertising claims where “the consumer deception alleged,” was
  “tied to forces and circumstances well beyond defendants’ control”); Myers v. Starbucks, 2020
  WL 13302437, at *4 (C.D. Cal. July 29, 2020) (dismissing claims challenging statement about
  partnership with “Cocoa Horizons” because an accurate description of a partnership with third-
  party certifiers did “not promise a perfect solution”).


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     Plaintiffs notably ignore that in the very same reports they challenge, lululemon repeatedly
  embraced that the industry as a whole requires change and explained its efforts in the context of
  the rest of the industry. See Ex. B at 25, 27, 30-33, 37; Ex. D at 2, 52, 54, 70-71.
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     Plaintiffs also allege that lululemon is “environmentally harmful” because, in 2022, it used a
  “more aggressive air freight strategy” than three competitors, AC ¶¶ 70-71, “rel[ies] on . . .
  materials that are produced from fossil fuels[,]” id. ¶ 84, “used more than 29 billion liters of
  freshwater in 2022,” id. ¶ 85, releases unspecified “amounts of microplastics into the planet’s . . .
  waters . . . [,]” id., and “relies heavily on synthetic fabrics in its products,” id. ¶ 111. But Plaintiffs
  plead no allegations explaining how these alleged actions—all of which are copied directly from
  lululemon’s annual Impact Reports disclosing its goals and progress—could mislead a reasonable
  consumer about lululemon’s goals and progress.


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                 3. lululemon’s Statements Are Too Subjective to be Actionable
         The Category 2 Statements are too subjective and/or immeasurable to be actionable. See,
  e.g., AC ¶¶ 76-79, 87, 89, 98, 100, 108-109. Statements that cannot be “empirically verifi[ed]” or
  “affirmatively proven or disproven” are inactionable. Fineman v. Ferragamo USA Inc., 672 F.
  Supp. 3d 1302, 1311-12 (S.D. Fla. 2023). First, Plaintiffs assert that lululemon’s use of
  environmental imagery is deceptive, identifying “[p]ictures of rivers, healthy forests and nature.”
  AC ¶ 81. However, this imagery makes no statement of fact and would not mislead a reasonable
  consumer as a matter of law. Dwyer, 598 F. Supp. 3d at 151-53 (depictions of “happy sheep” in
  “pastoral settings” are not actionable); Myers-Taylor v. Ornua Foods N. Am., 2019 WL 424703,
  at *5 (S.D. Cal. Feb. 4, 2019) (images of “happy grass-fed cows” eating grass were “generalized
  statements . . . so exaggerated as to preclude reliance by consumers.”).
         Second, Plaintiffs assert that lululemon’s statements about a healthy and/or healthier
  environment are deceptive. For example, Plaintiffs identify lululemon’s statements that it “help[s]
  create a healthier future,” “contribute[s] to a healthier environment,” and “contribute[s] to
  restoring a healthy planet.” AC ¶¶ 78 (quoting Ex. D at 46), 79 (quoting Ex. B at 25), 87 (quoting
  Ex. H at 1), 108 (quoting Ex. B at 25). Each of these statements is subjective and immeasurable,
  and would not deceive a reasonable consumer. Dwyer, 598 F. Supp. 3d at 153-54 (finding phrase
  “‘The Good Life’ is a subjective, non-specific, unmeasurable, and vague statement”); Lugones v.
  Pete & Gerry’s Organic, LLC, 440 F. Supp. 3d 226, 241 (S.D.N.Y. 2020) (the phrase “BETTER
  LIVES FOR HENS MEAN BETTER EGGS FOR YOU” is not actionable because it “[does] not
  provide any concrete representations”).
         Third, Plaintiffs assert that lululemon’s statements about striving to make the best products
  are deceptive. For example, Plaintiffs identify statements that lululemon is committed to making
  “products that are better in every way for people and the planet.” AC ¶ 87 (quoting Ex. H at 1);
  see also id. ¶¶ 77, 78 (quoting Ex. D at 46), 109. These statements are “simply too vague for a
  reasonable consumer to rely on [them] in any material way.” Leonard v. Abbott Labs, Inc., 2012
  WL 764199, at *22 (E.D.N.Y. Mar. 5, 2012). Fourth, Plaintiffs assert that lululemon’s statements
  that it is “actively working to help create a healthier future” through its “Like New” recommerce
  initiative are deceptive because they “overemphasize the company’s environmental harm
  reduction efforts by [highlighting] the relatively minor harm reduction benefits” of the initiative.
  AC ¶¶ 87 (quoting Ex. H at 1), 90. As explained above, these statements are too subjective to be



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  actionable. Further, Plaintiffs do not allege that the initiative is harmful to the environment. To the
  contrary, they concede that it may reduce the amount of “[l]ululemon apparel products that will
  end up in landfills.” Id. ¶ 93. The Court should thus dismiss the Consumer Protection Claims.
                 4. lululemon’s Statements are Contextualized
         Plaintiffs’ allegation that lululemon’s statements would deceive a reasonable consumer
  further fail Rule 8’s plausibility standard given the considerable qualifications and explanations
  that lululemon provides for those statements. Plaintiffs selectively excerpt lululemon’s statements,
  divorcing them from all accompanying disclosures and context. In evaluating whether a statement
  is deceptive, however, the Court “should take into account all the information available to
  consumers and the context in which that information is provided and used.” Kurimski v. Shell Oil
  Co., 570 F. Supp. 3d 1228, 1243 (S.D. Fla. 2021). “[W]hether a representation is likely to mislead
  reasonable consumers[], must be determined ‘by viewing it as a whole, without emphasizing
  isolated words or phrases apart from their context.’” FTC v. Peoples Credit First, 2005 WL
  3468588, at *6 (M.D. Fla. Dec. 18, 2005). Plaintiffs cannot ignore the “evidence plainly before”
  them. Kommer v. Bayer, 252 F. Supp. 3d 304, 311-12 (S.D.N.Y. 2017) (“Assuming that a
  reasonable consumer might ignore the evidence plainly before him attributes to consumers a level
  of stupidity that [courts] cannot countenance and that is not actionable.”).
         Here, lululemon consistently contextualized the statements at issue, precluding a
  reasonable consumer from being deceived. Regarding the Category 1 Statements, lululemon
  always made clear that its targets were goals, and that its environmental efforts were in furtherance
  of those goals. See supra Section III.B.1. Regarding the Category 2 Statements, lululemon always
  provided a detailed explanation of the basis underlying each statement. For example, Plaintiffs
  challenge the statements in its 2020 Impact Summary, such as: “Our lives are one with the health
  of the planet. Our products and actions avoid environmental harm and contribute to restoring a
  healthy planet.” AC ¶ 76 (quoting Ex. I at 9). However, Plaintiffs ignore the fact that on the very
  same page, lululemon explains the specific efforts it is taking to “avoid environmental harm and
  contribute to restoring a healthy planet.” Ex. I at 9. Plaintiffs do not allege that any of this
  accompanying context is deceptive. As such, Plaintiffs have not plausibly alleged any deception.
  See Lizama v. H&M Hennes & Mauritz LP, 2023 WL 3433957, at *6 (E.D. Mo. May 12, 2023)
  (dismissing consumer protection claims when defendant “provides consumers with copious
  amounts of [clarifying] information . . . on its website, which [plaintiff] alleges that he reviewed



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  prior to purchasing”); Taylor v. Homecomings Fin., 738 F. Supp. 2d 1257, 1266 (N.D. Fla. 2010)
  (“[T]his statement, viewed in isolation, could be deemed misleading. But the statements cannot
  properly be viewed only in isolation. They were, instead, parts of a note and program disclosure
  that repeatedly and accurately emphasized the possibility and import of negative amortization.
  Nobody could have read these documents without understanding full well the essence of the
  transaction.”); Kuenzig v. Kraft Foods, 2011 WL 4031141, at *9 (M.D. Fla. Sept. 12, 2011).
         C.      Plaintiffs Do Not Adequately Plead Reliance or Causation (Counts I-IV)
         Claims brought under the UCL and CLRA require a showing of actual reliance by the
  named plaintiffs. Hall v. SeaWorld Ent., 2015 WL 965991, at *28 (S.D. Cal. Dec. 23, 2015) (UCL
  and CLRA claims “require allegations of actual reliance, at least by the named plaintiffs, for those
  plaintiffs to have standing”). Although reliance is not an element of Plaintiffs’ FDUTPA and
  NYGBL claims, “[s]till, causation is a necessary element of [Plaintiffs’ Consumer Protection
  Claims], and causation must be direct, rather than remote or speculative.” Lombardo v. J&J
  Consumer Cos., 124 F. Supp. 3d 1283, 1290 (S.D. Fla. 2015); Dobkin v. HUB Int’l, 222 A.D.3d
  583, 583-84 (1st Dep’t 2023). To satisfy their burden of pleading causation, Plaintiffs must
  demonstrate that challenged “practice was likely to deceive a consumer acting reasonably in the
  same circumstances.” Cold Stone Creamery v. Lenora Foods, 332 F. App’x 565, 567 (11th Cir.
  2009).14 Here, Plaintiffs do not allege: which, if any, saw the challenged statements; when each
  saw the statements; or when each purchased lululemon products as a result of the statements.
  Plaintiffs also fail to allege when many of these representations were even made. See, e.g., AC ¶¶
  77, 88-89, 97-99, 109. Without these allegations, Plaintiffs have not met their burden of adequately
  pleading that they purchased lululemon products due to any specific lululemon statements. Justice
  v. Rheem Mfg. Co., 318 F.R.D. 687, 697 (S.D. Fla. 2016) (no causation because “many consumers
  do not review central AC system product brochures or the websites of AC manufacturers, and thus
  would be unlikely to be exposed to a disclosure of an alleged defect”).15 As such, Plaintiffs cannot
  satisfy the reliance element for the UCL and CLRA claims, or the causation element for the
  FDUTPA and NYGBL claims.


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    In re KIND LLC “Healthy & All Nat.” Litig., 209 F. Supp. 3d 689, 697 (S.D.N.Y. 2016);
  Collyer v. Catalina Snacks Inc., 712 F. Supp. 3d 1276, 1284-85 (N.D. Cal. 2024).
  15
     In re KIND, 209 F. Supp. 3d at 697 (same with NYGBL); Salas v. Whirlpool, 2024 WL 694067,
  at *8 (C.D. Cal. Jan. 24, 2024) (same with CLRA and UCL).


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         D.      Plaintiffs’ Consumer Protection Claims Fail for Additional Reasons
         In addition to the aforementioned deficiencies applicable to all of the Consumer Protection
  Claims, Plaintiffs’ NYGBL, UCL, and CLRA claims also fail for other independent reasons.
                 1. Plaintiffs’ NYGBL Claim Fails Because the Only New York Plaintiff Does
                    Not Allege a Deceptive Transaction Occurred in New York (Count II)
         The plain language of the NYGBL makes clear that it only applies to “[d]eceptive acts or
  practices in the conduct of any business, trade or commerce or in the furnishing of any service in
  this state.” NYGBL § 349(a). To state a claim under the NYGBL, “the transaction in which the
  consumer is deceived must occur in New York.” Goshen v. Mut. Life Ins. Co. of N.Y., 98 N.Y.2d
  314, 324 (2002). Here, the sole New York Plaintiff Reese alleges only that she purchased
  lululemon products at “[l]ululemon’s location in Hoboken, New Jersey.” AC ¶ 26. This is fatal to
  the NYGBL claim. See Reynolds v. Lifewatch, Inc., 136 F. Supp. 3d 503, 519 (S.D.N.Y. 2015)
  (where “the deception is alleged to have affected consumers nationwide,” “the underlying unlawful
  transaction affecting [plaintiff must be] completed in [New York]”). The mere fact that Plaintiff
  Reese is a New York resident does not salvage the claim. Courts evaluating NYGBL claims
  repeatedly note that the “analysis does not turn on the residency of the parties” since “the intent is
  to protect consumers in their transactions that take place in New York State[.]” Goshen, 98 N.Y.2d
  at 325. As such, the Court should dismiss Plaintiffs’ NYGBL claim.
                 2. Plaintiffs Fail to Adequately Plead Any Violation of the UCL (Count IV)
         The UCL prohibits any “unlawful, unfair or fraudulent business act or practice.” Cal. Bus.
  & Prof. Code § 17200. “Each prong of the UCL is a separate and distinct theory of liability.”
  Kearns v. Ford Motor, 567 F.3d 1120, 1127 (9th Cir. 2009). Plaintiffs vaguely assert claims under
  all three UCL prongs, but fail to plead facts sufficient to state a claim under any of them.
         First, Plaintiffs’ “unlawful” prong UCL claim falls with their Consumer Protection Claims.
  “If unable to state a claim for the underlying offense, the plaintiff similarly cannot state a claim
  under UCL for unlawful practices.” Vargas v. JP Morgan Chase Bank, 30 F. Supp. 3d 945, 952
  (C.D. Cal. 2014). Because Plaintiffs have failed to state the predicate Consumer Protection Claims,
  their unlawful prong claim also fails. Second, Plaintiffs’ “fraud” prong claim fails for the reasons
  set forth above, including because they have failed to plead fraud with particularity, have not
  adequately alleged that Plaintiffs read any of lululemon’s statements prior to their purchases, and
  have not identified any actionable statements. See supra Section III.A-C; Philips v. Ford Motor
  Co., 2015 WL 4111448, at *13-14 (N.D. Cal. July 7, 2015). Third, Plaintiffs’ “unfair” prong claim


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  fails because their conclusory references to vague “unfair” business practices and “unfair
  competition” fall well short of pleading facts sufficient to establish unfairness under the tests
  adopted by California courts. AC ¶¶ 174-75, 180. “Courts have applied three different standards
  in assessing claims brought under the ‘unfair’ prong of the UCL: (1) the balancing test; (2)
  the tether test; and (3) the FTC test.” Prince-Weithorn v. GMAC Mortg., LLC, 2011 WL 11651984,
  at *7 (C.D. Cal. May 5, 2011). Here, Plaintiffs do not allege facts sufficient to demonstrate
  unfairness under any of these tests. Plaintiffs do not allege that the harm incurred outweighs the
  utility of lululemon’s conduct, nor do they allege that the purported unfairness is “tethered to some
  legislatively declared policy.” Palmer v. Apple Inc., 2016 WL 1535087, at *6 (N.D. Cal. Apr. 15,
  2016). Not only is this pleading deficiency fatal, but any such punishment of lululemon’s
  transparency efforts would have the perverse effect of discouraging environmental efforts and
  transparency about any such efforts. Levitt v. Yelp! Inc., 2011 WL 5079526, at *9 (N.D. Cal. Oct.
  26, 2011) (dismissing UCL claim where no allegations the conduct was “unfair” under any test).
  For these reasons, Plaintiffs’ UCL claim fails under each of the unlawful, fraudulent, and unfair
  prongs. As such, the Court should dismiss Plaintiffs’ UCL claim.
                 3. The Court Lacks Jurisdiction to Grant Plaintiffs Equitable Relief
                    Pursuant to Their UCL Claim (Count IV)
         Plaintiff Roya Sayied’s demand for equitable restitution in connection with her UCL claim
  should be dismissed because she has not alleged that she lacks an adequate remedy at law. The
  UCL is “equitable in nature.” In re Mednax, 603 F. Supp. 3d 1183, 1216 (S.D. Fla. 2022). As such,
  Plaintiff Sayied must allege that she lacks an adequate remedy at law. See id. (citing Sonner v.
  Premier Nut. Corp., 971 F.3d 834, 839 n.2, 844 (9th Cir. 2020)). The relevant inquiry is whether
  a plaintiff has plausibly alleged the inadequacy of legal remedies for each claim for equitable relief
  that they seek. See id. Here, Plaintiff Sayied makes no attempt to allege that the damages she seeks
  in connection with her other claims, including her CLRA claim, are inadequate. As such, Plaintiff
  Sayied’s demand for equitable relief should be dismissed.
                 4. Plaintiffs Do Not Satisfy the CLRA Pleading Requirements (Count III)
         The CLRA prescribes specific pleading requirements mandating that a plaintiff provide
  pre-suit notice and file an affidavit concerning the proper venue. Specifically, to avoid dismissal,
  a plaintiff must: (1) provide statutory notice at least 30 days “prior to the commencement of an
  action for damages” and (2) file an affidavit showing that venue is proper. Cal. Civ. Code §§
  1780(d), 1782(a); In re Mednax Servs., 603 F. Supp. 3d at 1229 (dismissing CLRA claim because


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  plaintiff did not comply with pre-suit notice requirements); Steiner v. Vi-Jon Inc., 2024 WL
  1181002, at *6 (N.D. Cal. Mar. 18, 2024) (dismissing CLRA claim where failure to submit a venue
  affidavit with the complaint). Here, Plaintiff Sayied does not allege that she provided the requisite
  pre-suit notice, nor did Sayied attach the venue affidavit to the Amended Complaint. These
  deficiencies also require dismissal of the CLRA claim.
                 5. Plaintiffs Cannot Pursue a Nationwide FDUTPA Claim (Count I)
         Plaintiffs’ attempt to assert a nationwide FDUTPA claim against lululemon, which they
  acknowledge is not a Florida company, fails as a matter of law. Certain Florida courts have found
  that FDUTPA claims can only be applied to in-state consumers, and thus there can be no
  nationwide FDUTPA class. Dolan v. JetBlue Airways Corp., 385 F. Supp. 3d 1338, 1355 (S.D.
  Fla. 2019) (dismissing nationwide FDUTPA class allegations because “nationwide class treatment
  is not appropriate for” FDUTPA); Hutson v. Rexall Sundown, Inc., 837 So.2d 1090, 1093-94 (Fla.
  Dist. Ct. App. 2003). Under this approach, Plaintiffs here clearly cannot bring FDUTPA claims on
  behalf of a nationwide class. Other Florida courts have permitted out-of-state consumers to assert
  a FDUTPA claim “where the allegations [ ] reflect that the offending conduct occurred entirely
  within [the] state.” Millennium v. Off. of Att’y Gen., 761 So. 2d 1256, 1262 (Fla. Dist. Ct. App.
  2000). Here, however, Plaintiffs allege no facts that lululemon’s challenged conduct occurred
  entirely within Florida. To the contrary, Plaintiffs allege that lululemon made the purported
  misrepresentations “on its website,” and “throughout its hundreds of retail stores” across the
  country. AC ¶ 7. As such, the Court should dismiss Plaintiffs’ nationwide FDUTPA claim.
                 6. Certain Plaintiffs’ Consumer Protections Claims Are Barred by Statutes
                    of Limitations (Counts II-III)
         Certain of Plaintiffs’ Consumer Protection Claims are barred by the applicable statutes of
  limitations. The NYGBL and CLRA each have a 3-year statute of limitations, which begin to
  accrue upon consumers’ purchase of the product at issue. Plumlee v. Pfizer, Inc., 2014 WL 695024,
  at *6 (N.D. Cal. Feb. 21, 2014); Gould v. Helen of Troy Ltd., 2017 WL 1319810, at *2-3 (S.D.N.Y.
  Mar. 30, 2017). The putative nationwide and state subclasses include all persons who purchased
  lululemon products “since October 28, 2020”—nearly four years before the complaint was filed.
  AC ¶ 112. Thus, the NYGBL and CLRA claims of Plaintiffs Reese and Sayied, and the putative
  class members, are time barred to the extent their alleged purchases occurred before July 12, 2021.
  IV.    PLAINTIFFS FAIL TO STATE AN UNJUST ENRICHMENT CLAIM (COUNT V)
         Plaintiffs’ unjust enrichment claim should be dismissed for several reasons. First, the claim


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  is subject to Rule 9(b) and premised on the same deficient theory of deception as the Consumer
  Protection Claims. Jackson, 2021 WL 3666312, at *8. For the same reasons the Consumer
  Protection Claims fail, Plaintiffs’ unjust enrichment claim also fails. Second, “[u]njust enrichment
  is an equitable cause of action that is unavailable where the underlying wrongs are properly
  addressed by a legal remedy.” Licul v. Volkswagen, 2013 WL 6328734, at *7 (S.D. Fla. Dec. 5,
  2013). While a plaintiff may plead unjust enrichment as an alternative theory to a legal cause of
  action, “it is not a true alternative theory of relief . . . where the unjust enrichment claim relies
  upon the same factual predicates as a plaintiff’s legal causes of action.” Id. Here, Plaintiffs’ unjust
  enrichment claim is no more than “a vague catch-all” that “merely restates [Plaintiffs’] other
  cause[] of action” under the Consumer Protection Claims. Id. “Plaintiffs make no effort to
  distinguish the ‘misconduct’ and ‘unfair and deceptive conduct’ supporting their unjust enrichment
  claim from the alleged wrongdoing underlying their FDUTPA claim.” Id. Thus, if lululemon’s
  statements were deceptive, Plaintiffs’ appropriate legal remedy is under FDUTPA. Guerrero v.
  Target, 889 F. Supp. 2d 1348, 1356-57 (S.D. Fla. 2012). Third, Plaintiffs’ nationwide unjust
  enrichment claim fails as a matter of law. Courts routinely dismiss purported unjust enrichment
  claims at the pleading stage because variations in law among the fifty states “swamp any common
  issues and defeat predominance.” Dolan, 385 F. Supp. 3d at 1355 (dismissing nationwide unjust
  enrichment claim). Fourth, certain Plaintiffs’ unjust enrichment claims are barred by the
  applicable statutes of limitations. The unjust enrichment claims for the New York and California
  subclasses are subject to three and two-year statutes of limitations, respectively. Ingrami v. Rovner,
  45 A.D.3d 806, 808 (2d Dep’t 2007); Bettles v. Toyota Motor, 2022 WL 1619337, at *2 (C.D. Cal.
  May 23, 2022). As such, the unjust enrichment claims of Plaintiffs Reese and Sayied, and the
  putative members of the New York and California subclasses, are time barred to the extent their
  alleged purchase occurred before July 12, 2021 and July 12, 2022, respectively.
  V.     PLAINTIFFS LACK STANDING TO PURSUE PROSPECTIVE INJUNCTIVE
         RELIEF (COUNTS I-IV)
         Plaintiffs lack standing for their demand for injunctive relief “to end [Defendants’]
  marketing campaign” and have lululemon “conduct corrective advertising” because they have not
  alleged any imminent threat of being harmed again in a similar manner. AC ¶¶ 1, 5, 141, 154, 168.
  “The ‘injury-in-fact’ demanded by Article III requires an additional showing when injunctive relief
  is sought.” Houston v. Marod, 733 F.3d 1323, 1328 (11th Cir. 2013). “In addition to past injury, a
  plaintiff seeking injunctive relief ‘must show a sufficient likelihood that [they] will be affected by


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  the allegedly unlawful conduct in the future.’” Id. “Because injunctions regulate future conduct, a
  party has standing to seek injunctive relief only if the party shows ‘a real and immediate—as
  opposed to a merely conjectural or hypothetical—threat of future injury.’” Id. at 1329. So-called
  “some day” intentions (i.e., professions of intent or aspirations to, in this case, purchase a product
  again in the future), “without any description of concrete plans, or indeed even any specification
  of when the some day will be[,] do not support a finding of the ‘actual or imminent’ injury”
  required to demonstrate standing to seek prospective injunctive relief. Lujan, 504 U.S. at 564.
         Plaintiffs’ allegation that they “would like to purchase sustainable and environmentally
  friendly products” from lululemon is insufficient. AC ¶ 140. Not only do Plaintiffs fail to allege
  they are at risk of being injured in the future, but they admit they are now aware of the purported
  deception and injury. Williams v. Reckitt Benckiser LLC, 65 F.4th 1243, 1254 (11th Cir. 2023)
  (allegation that plaintiffs “would like to purchase Defendants’ [brain performance supplements] if
  they truly improved brain performance” was insufficient); Piescik, 576 F. Supp. 3d at 1131 (“[I]t
  is hard to imagine how Plaintiff could possibly be harmed in the future since he is now acutely
  aware that Defendant’s hand sanitizer kills only 99.99% of many common harmful germs and
  bacteria found on the hands, not 99.99% of all germs in existence.”). The Court should thus dismiss
  Plaintiffs’ demand for prospective injunctive relief.
                                            CONCLUSION
         For the foregoing reasons, Defendants request that the Court dismiss the Amended
  Complaint in its entirety.




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  Dated: September 30, 2024


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                                    REQUEST FOR HEARING

         Pursuant to Local Rule 7.1(b)(2), lululemon respectfully requests oral argument on this
  motion. As detailed above, this case involves myriad legal issues and statutory schemes, and
  lululemon believes oral argument would further the Court’s understanding of the multiple grounds
  for dismissal. lululemon submits that thirty minutes per side would be sufficient for the Parties to
  argue the issues presented.




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on September 30, 2024, I electronically filed the foregoing with the

  Clerk of the Court for the United States District Court for the Southern District of Florida by using

  the CM/ECF system, which sent notification of such filing to all CM/ECF participants.


  Dated: September 30, 2024


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